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                       REVISED NOTICE OF HEARING




             UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT


Kseniia Petrova

        v.                                        Case No. 2:25-cv-240

U.S. Department of Homeland Security,
Kristi Noem, Theresa Messier


TAKE NOTICE that the above-entitled case has been scheduled at 10:00 a.m. on
Wednesday, May 28, 2025 in Burlington, Vermont, before Honorable Christina Reiss,
Chief District Judge, for a Bail Hearing.

Location: 510                                    JEFFREY S. EATON, Clerk
                                                 By: /s/ Lescha Wilder
                                                 Deputy Clerk
                                                 5/21/2025



TO:

Brian S. Green, Esq.
Gregory Romanovsky, Esq.

Jeffrey M. Hartman, Esq.
Matthew J. Greer, AUSA
Debbie H. Stevens, Esq.

Johanna Masse, Court Reporter

Naira Hagopian, Russian Interpreter
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ZOOM INFORMATION

Topic: 2:25-cv-240 Petrova v US Dept Of Homeland Security et al
Time: May 28, 2025 10:00 AM Eastern Time (US and Canada)
Join ZoomGov Meeting
https://vtuscourts.zoomgov.com/j/1613849148?pwd=tpInPSru1B9PtKydrPcXRG6fHMwZiP.1

Meeting ID: 161 384 9148
Passcode: 122139

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**Pursuant to the Judicial Conference policy governing remote access to hearings, the court
may not offer remote public audio access to the portion of the proceeding in which a witness is
testifying. In addressing this situation, the court may mute the remote public audio access line
while the witness is testifying, or terminate the remote public audio access for the remainder of
the hearing.

An official transcript of this hearing may be ordered by contacting Court Reporter Johanna
Masse at 802-951-8102.
